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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS


PSARA ENERGY, LTD.,                   §
                              Plaintiff,
                                      §                             No. 1:15-CV-355
                                      §
           v.                         §                             ADMIRALTY
                                      §
SPACE SHIPPPING, LTD; ADVANTAGE       §
ANTHEM SHIPPING, LLC; GENEL DENIZCILIK§
NAKLIYATI A.S. A/K/A GEDEN LINES;     §
ADVANTAGE TANKERS, LLC; ADVANTAGE §
HOLDINGS, LLC; and FORWARD HOLDINGS, §
LLC,                                  §
                                      §
                       Defendants.    §


                            ORIGINAL VERIFIED COMPLAINT

       Plaintiff PSARA ENERGY, LTD by and through undersigned counsel, for its Original

Verified Complaint against Defendants: SPACE SHIPPPING, LTD; ADVANTAGE ANTHEM

SHIPPING, LLC; GENEL DENIZCILIK NAKLIYATI A.S. A/K/A GEDEN LINES;

ADVANTAGE TANKERS, LLC; ADVANTAGE HOLDINGS, LLC, and FORWARD

HOLDINGS, LLC alleges and pleads as follows:

                         I. JURISDICTION, VENUE AND PARTIES

       1.      This is an admiralty and maritime claim within the meaning of rule 9(h) of the

Federal Rules of Civil Procedure in that it involves claims for the breach of a maritime contract

i.e. an executed bareboat charter party for the employment of a seagoing cargo vessel. This case

also falls under this court's admiralty and maritime jurisdiction pursuant to 28 U.S.C. § 1333, and

is brought under the provisions of Rule B of the Supplemental Rules For Certain Admiralty and

Maritime Claims, and the Federal Arbitration Act, 9 U.S.C. §§ 4, 8 in aid of maritime arbitration.




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       2.     At all times material hereto Plaintiff, PSARA ENERGY, LTD (hereinafter

“PSARA” or “Plaintiff”), was a corporation organized under the laws of the Republic of the

Marshall Islands and the registered owner of the Motor Tanker CV STEALTH (hereinafter the

“CV STEALTH”), a crude oil tanker vessel registered in Malta.

       3.     At all times material hereto Defendant, SPACE SHIPPPING, LTD. (hereinafter

“SPACE”), was and is a foreign company organized under the laws of Malta and the bareboat

charterer of the CV STEALTH under a bareboat charter party contract dated February 23, 2010

(“the bareboat charter”). A copy of the bareboat charter is attached hereto as EXHIBIT 1.

       4.     At all times material hereto Defendant, ADVANTAGE ANTHEM SHIPPING,

LLC (hereinafter “ANTHEM SHIPPING”) was, and is a corporate entity organized under the laws

of the Commonwealth of the Bahamas , and the registered owner of Motor Tanker ADVANTAGE

ANTHEM, a tanker vessel registered in the Marshall Islands, with IMO No. 9472634 and

international call sign V7KZ4.

       5.     At all times material hereto Defendant GENEL DENIZCILIK NAKLIYATI A.S.

A/K/A GEDEN LINES (hereinafter “GEDEN”) was and is a foreign corporate entity organized

under the laws of Turkey and the Operator, ISM Manager, and Manager of the CV STEALTH,

under the bareboat charter (see EXHIBIT 1, at box 4); see also attached copies of the GEDEN

webpage hereto attached as EXHIBIT 2.

       6.     At all times material hereto ADVANTAGE TANKERS, LLC (hereinafter

"ADVANTAGE TANKERS") was a foreign limited liability company organized under the laws

of a country other than the United States, and as a holding company owns 100% of defendant

ANTHEM SHIPPING.




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       7.      At all times material hereto ADVANTAGE HOLDINGS, LLC (hereinafter

"ADVANTAGE HOLDINGS") was a foreign limited liability company organized under the laws

of a country other than the United States, and as a holding company owns 100% of defendant

ADVANTAGE TANKERS.

       8.      At all times material hereto FORWARD HOLDINGS, LLC (hereinafter

"FORWARD HOLDINGS") was a foreign limited liability company organized under the laws of

a country other than the United States, and as a holding company owns 100% of defendant

ADVANTAGE HOLDINGS.

       9.      The jurisdiction of this Honorable Court is founded on the presence within the

District of property of the Defendants that may be attached by process of maritime attachment

and garnishment under the provisions of Rule B of the Supplemental Rules for Certain Admiralty

and Maritime Claims, as pled more fully in Section V of this Original Verified Complaint.

                              II. THE SUBSTANTIVE CLAIMS

       10.     Under the bareboat charter party dated February 23, 2010 (“the bareboat charter”)

and addenda thereto dated June 2, 2010; June 21, 2010; and January 29 2010 Plaintiff chartered

its vessel CV STEALTH for a “a term of 5 years straight period +/- 30 days in Charterer's option

plus 1 or 2 years optional year(s) declaration by Charterers 5 months prior end of the firm period”

to "Geden Holdings Limited, Malta or nominee always guaranteed by Geden Line.” See EXHIBIT

1, box 21, 4. The vessel was delivered to the service of the nominee of Geden Holding Ltd. i.e.

SPACE and to GEDEN LINE and was used and operated for profit by them as part of GEDEN’s

managed non-owned fleet. See copies of relevant pages from the website of GEDEN LINE

advertising the CV STEALTH hereto attached as EXHIBIT 2.




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       11.      Plaintiff delivered the vessel into the bareboat chartered service and rendered, and

continues to render the contractual performance required of it. However, Defendants SPACE and

GEDEN, (hereinafter collectively referred to as “Charterers”), though possessing and using the

CV STEALTH , are failing and refusing to perform their hire payment obligations under the

bareboat charter party contract and are in default and indebted to Plaintiff for various sums, which

are due and owing, as set out below.

       12.     Charterers have failed and are refusing to pay bareboat charter hire at the agreed

rates for the period of July 1 through July 31, 2015 in the total amount of USD $302,250.00 which

has been duly invoiced and otherwise demanded of them. Under the terms of the bareboat charter,

hire is payable monthly in advance.       Charterers have also failed to pay hire for the period of

August 1 through August 31, 2015 in the total amount of USD $302,250.00 which has been duly

invoiced and otherwise demanded of them. Charterers have also failed to pay hire for the period

of September 1 through September 30, 2015 in the total amount of USD $321,750.00 (see copies

of the July, August, and September 2015 hire invoices hereto attached as EXHIBIT 3),

       13.     Currently, the total outstanding amount of charter hire remaining unpaid for the

months of July, August, and September 2015 5 is $ 926,250.00. Charterers are, accordingly, in

default of their obligation to pay charter hire in the total amount of USD $926,250.00.

       14.     The Charterers continue to possess the CV STEALTH but are unjustly failing and

refusing to pay Plaintiff the amounts they owe under the bareboat charter, even though they have

realized earnings by having employed her under charters to third parties.

                       III. UNDERLYING PROCEEDINGS ON THE MERITS

       15.     Box 35 and clause 30(a) of the bareboat charter party (EXHIBIT 1) provide for

arbitration of all disputes arising out of the contract in London. Plaintiff intends to claim the full



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outstanding amount in London arbitration.

       16.     Plaintiff estimates the legal costs that will be incurred to pursue these claims in

London maritime arbitration proceedings will be approximately USD $200,000. As it is customary

in London arbitration, legal costs, including lawyers’ fees are awarded to the prevailing party.

       17.     This action is an ancillary proceeding, brought in order to obtain jurisdiction over

Defendant Charterers and to obtain security for Plaintiff’s claims in the London proceedings.

                            IV. DEFENDANTS’ CORPORATE IDENTITY

       18.     Notwithstanding their formal separate incorporation, the Defendants are in actual

fact a single business enterprise pursuing functionally differentiated business objectives through

nominally separate business structures but always subject to the command and control of

Defendant GEDEN which is the parent company of Defendants SPACE, ANTHEM SHIPPING,

ADVANTAGE TANKERS, ADVANTAGE HOLDINGS, and FORWARD HOLDINGS, as is

more specifically pled hereunder.

       19.     When Plaintiff entered in the bareboat charter party with Defendant SPACE

guaranteed by its parent GEDEN, and, subsequently, throughout the years of performance,

GEDEN represented itself as the owner and operator for profit of a fleet of tanker and dry cargo

vessels and also the operator for profit of non-owned chartered-in ships. See e.g. EXHIBIT 2; see

also representations made at p. 40, of a true and correct copy of an initial public offering prospectus

dated June 19, 2012 attached hereto as EXHIBIT 4 and hereinafter referred to as "the GEDEN

Prospectus."

       20.     Under the GEDEN Prospectus, it was represented that the shares of the single-ship-

companies that owned GEDEN’s fleet of tankers were owned by a Maltese holding company,

Geden Holdings, Ltd. The fleet of vessels owned by GEDEN included, among others, the Motor



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Tanker POWER, (Id., EXHIBIT 41 at pp. 77, 84, 86; 87). (See also pp. 16 and 17 in copy of a

restructuring proposal prepared in 2013 for Defendant Genel Denizcilik Nakliyati A.S. by Alix

Partners relating to changing the ownership structure of Genel Denizcilik Nakliyati A.S in 2013

attached hereto as EXHIBIT 5. This document was filed in the record of the case Icon Amazing,

LLC v. Amazing Shipping, LTD. et al in the Southern District of Texas as ECF Doc. 33-6 in Civil

Action 13 cv. 01449.         The M/T POWER was registered in the name of a single ship owning

corporate entity - Barbaros Maritime, Ltd (EXHIBIT 4 at p. 85), which was entirely owned by

GEDEN's controlled holding company, Geden Holdings, Ltd. which was and is controlled by

members of the Karamehmet family. Id., at p. 29. 76; EXHIBIT 5 at pp. 2, 5, 12,

         21.     Ultimately, the M/T POWER and all other vessels of the GEDEN fleet of tankers

and dry cargo vessels were controlled by Defendant GEDEN, (EXHIBIT 4 at pp.77-78; EXHIBIT

5 at p. 2) which in turn was controlled by Cukurova Group, a leading Turkish conglomerate

ultimately and beneficially owned by members of the Karamehmet family. See EXHIBIT 4 at pp.

76-77.

         22.     GEDEN publicly held out the vessels it owned through one-ship-companies,

including the M/T POWER as its own assets. See EXHIBIT 2; EXHIBIT 4 at p. 29, and

EXHIBIT 5, generally. Even though each vessel in the fleet of GEDEN, which had not been

chartered-in or leased-in from a third party, was registered in the name of an individual one-ship-

company;2 GEDEN, beneficially owned and operated these vessels as assets of a single business

enterprise. The purported corporate independence of the respective “SPV” vessel owners was

simply fictitious, as they were entirely subjugated to GEDEN’s business goals and policies, which


1  The entire prospectus is approximately 230 pages. For this Original Verified Complaint, Plaintiff has included the
introductory pages of the prospectus and relevant excerpts referred to herein. Plaintiff will provide the complete
prospectus should this Honorable Court request a copy of same.
2
  Referred to by the said defendant as an “SPV” i.e. a “special purpose vehicle.” See EXHIBIT 4 pp. 29, 170

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were implemented by GEDEN management and staff. See EXHIBIT 5 generally.

       23.     In this process, the GEDEN SPV’s were mere limbs and organs of a larger corporate

organism as evidenced by the common business strategy GEDEN had pursued in order to cope

with the current shipping market crisis, and the - unsuccessful - attempt to spin off an initial public

offering in which the assets of the “subsidiaries” were identified as assets of the GEDEN group.

See EXHIBIT 4 at p. 40.

       24.     According to the information publicly disclosed by GEDEN, Barbaros Maritime,

Ltd which owned the M/T POWER was entirely owned by GEDEN. See EXHIBIT 2 "Geden

Fleet" and EXHIBIT 5 generally.

       25.       Throughout the portion of the bareboat charter term that has been already

performed, SPACE, remained as spelled out in the charter a “nominee” (See EXHIBIT 1, box 4)

performing a merely nominal role with all of Plaintiff’s business under the charter actually being

transacted with GEDEN, for and on behalf of GEDEN and SPACE.

       26.     Defendants GEDEN and SPACE (as well as Geden Holdings Ltd.) have had

common officers, common directors, and common parent companies, and common beneficial

owners as follows: Mr. M. Bülent Ergin, was director of GEDEN, Geden Holdings Ltd., and

Çukurova Holding A.S; Mr. A. Tugrul Tokhöz was on the board of directors of GEDEN, Geden

Holdings Ltd., and Çukurova Holding A.S; Mr. Mehmet Mat was the chief financial officer of

GEDEN and Geden Holdings Ltd. (See EXHIBIT 4 at pp. 100-101). The ownership of GEDEN;

Geden Holdings Ltd.; and Cukurova Holding AS was entirely in the hands of the Karamehmet

family in Turkey. Id., EXHIBIT 4 at pp. 5, 76-77; 151.

       27.     According to the shipping database EQUASIS, under the history of the M/T

POWER, though her listed ownership was in Defendant Barbaros Maritime, Ltd., GEDEN



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always held and continues to hold the International Safety Management Code Document of

Compliance for M/T POWER (See: copy of EQUASIS database record hereto attached as

EXHIBIT 6; copy of the vessel’s record of ISM certification hereto attached as EXHBIT 7); and

also holds the certificate of financial responsibility (COFR) for the same vessel. (See Record of

Certificate of Financial Responsibility issued by the U.S. Coast Guard hereto attached as

EXHIBIT 8).

         28.    Beginning in March 2013 hire payments to Plaintiff and to other vessel owners who

had similar bareboat chartering arrangements became at intervals erratic and often late.

         29.    By making diligent enquiries in the shipping market and closely following the

performance of the Geden Group, Plaintiff learned that GEDEN was contemplating and

considering in consultation with its financing banks to radically change the corporate ownership

structure of its shipping business in a manner likely to involve wholesale repudiation of charter

parties and shifting of its assets under new corporate ownership that would severely compromise

its ability to honor its obligations under its performance guarantee and similarly the ability of its

wholly owned subsidiaries’, including the ability of SPACE, to render their performance.

         30.    More specifically the record in a civil action previously filed in the United States

District Court for the Southern District of Texas disclosed a document authored by business

Consultants of Geden (EXHIBIT 5) which outlined a restructuring plan which among other things

would:

         A.     Expropriate Geden of its shipping assets (vessels) from its subsidiaries that owned

         them “into appropriate newcos” (new corporate entities) for the purpose of making the

         assets unreachable by creditors to whom Geden and respective subsidiaries had undertaken

         important obligations, a process that Geden and its consultants have characterized as



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         "Ring-fence potential sources of disruption, holdouts, or nuisance (such as arrests or sister-

         ship arrests)". EXHIBIT 5 at p 7;

         B.       Establish the successor corporate entities (“newcos”) of Geden with such a

         shareholding structure as to minimize the risk of the assets being arrested by unpaid

         creditors. EXHIBIT 5 at p. 40;

         C.       Relegate creditors who have extended non-financing credit to the Geden group of

         companies to a “Group D” status outside the “privileged” creditors of the “newco” groups.

         Such creditors included Plaintiff and other owners within the Stealth group who have

         bareboat chartered vessels to the Geden Group. EXHIBIT 5 at p. 7.

         31.      With the improvement of the tanker market in early 2015, Defendant GEDEN, with

the cooperation of its financing banks, set out to implement its plan of changing the ownership

structure of their business by taking the following specific actions.

         32.      Defendant GEDEN caused the SPV’s which controlled nine (9) of its largest and

most profitable tankers to sell them to a new set of one- ship-companies (“newco’s”), as it had

planned and contemplated to do under its re-structuring scheme noted in the foregoing, and as

detailed in EXHIBIT 4 and EXHIBIT 5, and had these vessels re-named and reflagged – from

the Maltese to the Marshall Islands flag. Thus the ownership/flag/name of the ships was changed

as follows:

FORMER NAME: PROFIT
NEW NAME: ADVANTAGE SOLAR
FORMER OWNER: PROFIT SHIPPING LTD
NEW OWNER: ADVANTAGE SOLAR SHIPPING LLC
-----------------------------------------------------------------------
FORMER NAME: TARGET
NEW NAME: ADVANTAGE ARROW
FORMER OWNER: TARGET SHIPPING LTD.
NEW OWNER: ADVANTAGE ARROW SHIPPING LLC
---------------------------------------------------------------------------

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FORMER NAME: TRUE
NEW NAME: ADVANTAGE AVENUE
FORMER OWNER: TRUE SHIPPING LTD.
NEW OWNER: ADVANTAGE AVENUE SHIPPING LLC
-----------------------------------------------------------------------------
FORMER NAME: BLUE
NEW NAME: ADVANTAGE SKY
FORMER OWNER: BLUE SHIPPING LTD.
NEW OWNER: ADVANTAGE SKY SHIPPING LLC
----------------------------------------------------------------------------
FORMER NAME: PINK
NEW NAME: ADVANTAGE SUMMER
FORMER OWNER: PINK SHIPPING LTD.
NEW OWNER: ADVANTAGE SUMMER SHIPPING LLC
----------------------------------------------------------------------------

FORMER NAME: BLANK
NEW NAME: ADVANTAGE START
FORMER OWNER: BLANK SHIPPING LTD.
NEW OWNER: ADVANTAGE START SHIPPING LLC
----------------------------------------------------------------------------
FORMER NAME: REEF
NEW NAME: ADVANTAGE SPRING
FORMER OWNER: REEF SHIPPING LTD
NEW OWNER: ADVANTAGE SPRING SHIPPING LLC
--------------------------------------------------------------------------
FORMER NAME: BRAVO
NEW NAME: ADVANTAGE ATOM
FORMER OWNER: BRAVO SHIPPING LTD.
NEW OWNER: ADVANTAGE ATOM SHIPPING LLC
---------------------------------------------------------------------------
FORMER NAME: POWER
NEW NAME: ADVANTAGE ANTHEM
FORMER OWNER: BARBAROS MARITIME LTD.
NEW OWNER: ADVANTAGE ANTHEM SHIPPING LLC
-----------------------------------------------------------------------------

         33.      At the same time Defendant GEDEN transferred the legal and equitable title to the

ownership of the said vessels from Geden Holdings, Ltd. to another new holding company i.e.

Defendant ADVANTAGE TANKERS.

         34.      ADVANTAGE TANKERS is 100% owned by another holding company i.e.

Defendant ADVANTAGE HOLDINGS, which in turn is 100% owned by Defendant FORWARD

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HOLDINGS.

          35.      FORWARD HOLDINGS is 85% owned by Mrs. Gulsun Nazil Karamehmet ,

Williams and 15% by Mr. Ali Tugrul Toghoz. Mrs. Karamehmet Williams is the daughter of the

principal owner of the business group Mr. Mehmet Emin Karamehmet.

          36.      Attached hereto and marked as EXHIBIT 9 is a diagrammatic representation of

the ownership / control structure of the GEDEN-owned SPV’s following the change of holding

companies - as noted in the foregoing - captioned “SCHEDULE II – Organizational Chart” which

is extracted from the Marshall Islands Vessel Register record of a Mortgage dated April 2, 2015

“in respect of the vessel M.V. “ADVANTAGE ARROW” ex “TARGET”, and a “Loan Facility

Agreement relating to the financing of MV “TRUE” (tbr “ADVANTAGE AVENUE” and MV

“TARGET” (tbr “ADVANTAGE ARROW”). 3

          37.      With specific reference to the M/T POWER analogous changes were made to the

registration and ownership structure of this vessel as follows: the vessel was sold by her previous

owner Barbaros Maritime, Ltd. to her present owner Advantage Anthem Shipping, LLC and was

renamed ADVANTAGE ANTHEM (See Loan Agreement Document extract from p. 24 of loan

agreement dated May 13, 2015 excerpts of which are hereto attached as EXHIBIT 10). The

holding company of the corporate owner of the vessel, became ADVANTAGE TANKERS, LLC

which also became the loan agreement guarantor (Id. P. 12) and the commercial manager remained

Genel Denizcilik Naklyiati A.S. i.e. Defendant Geden Lines) Id. at p.5, which also remained the

vessel's technical manager. See Extract from mortgage on the ADVANTAGE ANTHEM dated

May 13, 2015, hereinafter referred to as EXHIBIT 11, at 14 ¶ 6.27. Under the mortgage agreement

the ADVANTAGE ANTHEM                        is cross-collateral for loans extended to Advantage Anthem



3   For the sake of brevity extracts from this record will be referred to as “Mortgage Record Extract”.

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Shipping, LLC; Advantage Atom Shipping. LLC; and Advantage Award Shipping. LLC. under

the loan agreement of the said parties with Unit Credit Bank AG.

       38.     In restructuring the corporate ownership of its most valuable assets, siphoning them

out to other nominee companies, and “ring-fencing” them with various layers of corporate shells,

for the express purpose of making them inaccessible as a source of recourse to creditors to whom

GEDEN and its wholly owned subsidiaries are indebted, GEDEN and its co-defendants actively

abused the corporate form for the express wrongful purpose of defeating legitimate claims of

creditors whose assets GEDEN and its co-defendants have used, and are continuing to use to

enrich themselves.

       39.     The M/T ADVANTAGE ANTHEM is one of the assets which is beneficially

owned by Defendant GEDEN, and the said Defendants has tried to “ring-fence” out unpaid

creditors, including Plaintiff by means of transferring her legal ownership, and changing her

registration in order to prevent said creditors from attaching her as a source of security. But,

notwithstanding appearances, ownership and control over the said vessel remains with the same

beneficial owners, as and when she was named POWER and was registered in Malta.

       40.     By reason of the relationship of complete dominion and control that Defendant

GEDEN has exercised over its subsidiaries ANTHEM SHIPPING and SPACE, taking into

consideration the foregoing facts and circumstances, it would be just, equitable and proper for the

Court to exercise its equitable powers to pierce the corporate veil of ANTHEM SHIPPING as an

alter ego of GEDEN, SPACE, ADVANTAGE TANKERS, ADVANTAGE HOLDINGS, and

FORWARD HOLDINGS so that the vessel M/T ADVANTAGE ANTHEM may be attached with

process of maritime attachment and garnishment as a source of security for Plaintiff’s May and

June 2015 unpaid hire installment.



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                        V. APPLICATION FOR ATTACHMENT UNDER
                           SUPPLEMENTAL ADMIRALTY RULE B

        41.     None of the Defendants are present or can be found in the District within the

meaning of Rule B of the Supplemental Rules for Certain Admiralty and Maritime Law Claims.

See Attorney Declaration of George Gaitas attached hereto as EXHIBIT 12. Nevertheless,

Defendants have within the District tangible or intangible personal property in the hands of parties

who may be named garnishees in the process of maritime attachment and garnishment consisting

of debts, credits, or effects.

        42.     More particularly the M/T ADVANTAGE ANTHEM, a tanker vessel with IMO

No. 9472634 and international call sign V7KZ4, owned by Defendants, is or will soon be within

the Eastern District of Texas and is expected to berth therein.

        43.     Defendant GEDEN, used and is continuing to use its purported corporate

separateness, and the purported separate incorporation of its surrogate subsidiaries SPACE,

ANTHEM SHIPPING, ADVANTAGE TANKERS, ADVANTAGE HOLDINGS, and

FORWARD HOLDINGS abusively, to wit: to engage in fraudulent corporate restructuring and

asset reallocation practices to avoid paying agreed and accrued hire, for the M/T CV STEALTH

and to repudiate with impunity their obligations under the bareboat charter party.

        44.     Defendant GEDEN has contracted with Plaintiff, and is using its completely

dominated surrogate shell entities SPACE, ANTHEM SHIPPING, ADVANTAGE TANKERS,

ADVANTAGE HOLDINGS, and FORWARD HOLDINGS as alter egos, intending to reap all the

benefits but pay none of the costs. Defendants are accordingly, using the corporate form abusively,

i.e. to perpetrate fraud and commit other injustice. It would be, accordingly, fair and equitable to

pierce (or reversely pierce) the corporate veil of GEDEN, SPACE, ANTHEM SHIPPING,

ADVANTAGE TANKERS, ADVANTAGE HOLDINGS, and FORWARD HOLDINGS in order

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to reach the economic value of the M/T ADVANTAGE ANTHEM which said Defendants have

compartmentalized in separate corporate pockets, to the detriment of Plaintiff.

       45.     Alternatively, Defendants having operated, at all relevant times, as a single

enterprise, and being the alter ego of each other in the circumstances set in the above and foregoing

Original Verified Complaint, it would be fair and equitable for any asset of this enterprise to be

subject to the claims of judgment creditors of the enterprise, such as Plaintiff, and for any such

assets to be attached as security for Plaintiff’s maritime claims.

       46.     Plaintiff has maritime claims against the Defendants arising out of maritime

contract (i.e. – the bareboat charter party with GEDEN and SPACE dated May 27, 2010 and the

performance guarantee of GEDEN of the same date).

       47.     The amount of Plaintiff’s claim as reasonably as it can be estimated is as follows:

               A. Charter Hire due and owing ….…………………………$                           926,250.00

               B. Interest at 6% compounded quarterly for 1 year………...$                56,838.00

               C. Recoverable Legal Fees and Costs………………………$                          200,000.00

               Total Claim…………………………………………………$                                       1,183,088.00

       48.     Therefore, Plaintiff’s total claim for breach of the maritime contracts against

Defendants is in the aggregate sum of USD 1,183,088.00.

       WHEREFORE PREMISES CONSIDERED, Plaintiff prays as follows:

       A.      That process in due form of law, according to the practice of this Honorable Court

in matters of admiralty and maritime jurisdiction be issued against Defendants and said Defendants

be cited to appear and answer the allegations of this Original Verified Complaint;

       B.      That since the Defendants cannot be found within this District pursuant to

Supplemental Rule B, all of the assets of the Defendants presently within this District, or assets



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expected in this District during the pendency of this action, including, but not limited to, the M/T

ADVANTAGE ANTHEM and/or any assets within the possession, custody or control of any other

garnishee upon whom a copy of the Process of Maritime Attachment and Garnishment issued in

this action may be served, be attached and garnished in an amount sufficient to answer Plaintiff’s

claim;

         C.    That this Court retain jurisdiction over this matter through the entry of any

judgment or award associated with any of the claims currently pending, or which may be initiated

in the future, including any appeals thereof;

         D.    That judgment be entered against each of the Defendants in the sum of One Million

and One Hundred Eighty Three Thousand and Eighty Eight Dollars (USD $ 1,183,088.00),

together with interest and costs, and the proceeds of the assets attached be applied in satisfaction

thereof;

         E.    That the Court grant such other relief as it deems, just, equitable and proper.

                                                       Respectfully submitted,

Date: September 18, 2015                               CHALOS & CO, P.C.
      Houston, TX

                                                By:    /s/ George A. Gaitas_______
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